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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA

V.                                                                        NO. 4:09CR050-NBB

ROBERT LLOYD


                                             ORDER

       This matter comes before the court following the Defendant’s motions for leave to proceed

in forma pauperis, to appoint counsel and for copies. Attorney Whitman Mounger was previously

appointed to represent the Defendant in the underlying criminal proceedings. The Defendant now

asks that another attorney be appointed for purposes of appeal. Neither Attorney Mounger nor the

Government oppose the motion for appointment of new counsel. Since the Defendant is entitled to

have legal representation for a direct appeal, the Defendant’s motion for appointment of counsel

(docket entry 86) is GRANTED. The Magistrate Judge is hereby directed to appoint counsel for the

Defendant in accordance with Rule 44 of the Federal Rules of Criminal Procedure and 18 U.S.C. §

3006A. Attorney Mounger shall have no further obligation to this Defendant.

       Additionally, the Defendant at all times has been represented by legal counsel. The

Defendant has been warned that he may not continue to file pro se motions while simultaneously

receiving the benefit of legal counsel. United States v. Daniels, 572 F.2d 535, 540 (5th Cir. 1978).

Since the Defendant will be appointed counsel for appeal, he should refrain from filing any

additional pro se motions. The attorney, rather, shall file any motions and communicate with the

court on behalf of the Defendant.

       As for the Defendant’s motion for a copy of the transcript, the court nor the clerk’s office
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provide copies free of charge. Walker v. United States, 424 F.2d 278, 279 (5th Cir. 1970) (a prisoner

is not entitled to go on a fishing expedition by searching the record for possible error). Therefore,

the motion for a copy of the transcripts (docket entry 87) is DENIED without prejudice. The court

may entertain a subsequent motion for transcripts if newly appointed counsel can show that a copy

of the transcript is reasonable and necessary.

       This the 23rd day of February, 2010.

                                                              /s/ Neal Biggers

                                                      NEAL B. BIGGERS
                                                      SENIOR U.S. DISTRICT JUDGE
